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 7                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 8                                             AT SEATTLE
 9   ROTHSCHILD BROADCAST
10   DISTRIBUTION SYSTEMS, LLC,                       No.: 2:22-cv-00771-JLR

11                    Plaintiff,                      CLERK’S ORDER OF DEFAULT
12           v.
13   CREATIVELIVE, INC.,
14
                      Defendants(s).
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17
             THIS MATTER has come before the Court on Plaintiff’s Motion for Order of Default as
18
     to Defendant CreativeLive, Inc., and supporting documentation.
19
20           Defendant CreativeLive, Inc. failing to appear, good cause being shown, and the Court
21   being fully advised,
22
             IT IS HEREBY ORDERED that Defendant CreativeLive, Inc. is in default.
23
24           DATED this 5th day of July, 2022.
25                                               RAVI SUBRAMANIAN
26                                               Clerk of the Court

27
                                                      s/ Ashleigh Drecktrah
                                                 By: _______________________
28
                                                        Deputy Clerk
29
30

      CLERK’S ORDER OF DEFAULT                                          MEYLER LEGAL, PLLC
      (Case No. 2:22-cv-00771-TLF)                                 1700 WESTLAKE AVE. N., STE 200
                                                                    SEATTLE, WASHINGTON 98109
                                                                 TEL: (206) 876-7770 z FAX: (206) 876-7771
               Case 2:22-cv-00771-JLR Document 10 Filed 07/05/22 Page 2 of 2




     Presented by:
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 7   Counsel for Plaintiff
 8   Rothschild Broadcast Distribution Systems, LLC
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      CLERK’S ORDER OF DEFAULT                                  MEYLER LEGAL, PLLC
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